

People v Jackson (2025 NY Slip Op 01898)





People v Jackson


2025 NY Slip Op 01898


Decided on April 01, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 01, 2025

Before: Manzanet-Daniels, J.P., González, Shulman, Rodriguez, Pitt-Burke, JJ. 


Ind. No. 834/18, 2000/19|Appeal No. 4018|Case No. 2021-03090|

[*1]The People of the State of New York, Respondent,
vLeonard Jackson, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Ben A. Schatz of counsel), and Latham &amp; Watkins LLP, New York (Benjamin E. Harris of the bar of the State of California, admitted pro hac vice, of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Matthew Colangelo of counsel), for respondent.



Judgment, Supreme Court, New York County (Robert Mandelbaum, J.), rendered August 12, 2021, as amended March 8, 2022, convicting defendant, after a jury trial, of assault in the first degree, bribing a witness (two counts), intimidating a victim or witness in the third degree (two counts), tampering with a witness in the third degree, and criminal contempt in the second degree (two counts), and sentencing him to an aggregate term of 12 years, unanimously affirmed.
We perceive no basis for reducing defendant's sentence.
Since defendant's failed to obtain leave to appeal the denial of his CPL 440.10 motion to vacate judgment on the ground of ineffective assistance of counsel, this Court lacks jurisdiction to consider his claim that leave should have been granted (CPL 460.15[1]; see People v Sorenson , 225 AD2d 566, 567 [2d Dept 1996], lv denied  88 NY2d 886 [1996], People v Harris , 107 AD2d 761, 762 [2d Dept 1985]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 1, 2025








